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Probati on Fonn No. 35                                       Report and Order Terminating Probation /
( 1/92)                                                                            Supervised Release
                                                                     Prior to Original Expiration Date

                                    UNITED STA TES DISTRICT COURT
                                                for the
                                   SOUTHERN DISTRICT OF NEW YORK


          UNITED STATES OF AMERICA

                              V.                        Docket No. 1: I 4CR00546 (CM)

                         Jerome Thomas


        On August 24, 2018, the above named was placed on Supervised Release for a period of
four (4) years. He has complied with the rules and regulations of Supervised Release and is no
longer in need of supervision. It is accordingly recommended that Jerome Thomas be discharged
from Supervised Release.


                                                              Respectfully submitted,


                                                        by     hl>rtd-L       w&A
                                                              Robert L. Walsh
                                                              U.S . Probation Officer




                                          ORDER OF THE COURT

       Pursuant to the above report, it is ordered that the defendant is discharged from Supervised
Release and that the proceedLf in the case be terminated.

            Date this              :J -    day of
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                                                              Honorable Colleen McMahon
              L'S DC SDNY
                                                              Chief U.S. District Judge
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